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                             UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

    UNITED STATES OF AMERICA

    VS.                                                      CASE NO: 6:20-cr-97-GAP-LRH

    JOEL MICAH GREENBERG


                       ORDER AND NOTICE OF CHANGE OF PLEA HEARING
           TAKE NOTICE that a Change of Plea hearing is scheduled for MONDAY, MAY 17, 2021

    at 10:00 A.M. This hearing will be held before the Honorable Leslie R. Hoffman in Courtroom

    No. 5D, U.S. Courthouse, 401 W. Central Boulevard, Orlando, Florida. The Defendant is required

    to be present.

           If there have been any representations or promises made to the Defendant, including that the

    United States will recommend that the case be handled in an expedited manner, such representations

    and promises must be set forth in a written document filed with the Court before the Change of Plea

    hearing begins.

           Failure to comply with the requirements of this Order may result in cancellation of the

    scheduled Change of Plea hearing. If the Change of Plea hearing cannot be rescheduled before the

    beginning of the trial term, the parties must file a motion for permission to conduct the Change of

    Plea hearing after the beginning of the trial term.

           The procedures set forth in the December 22, 2020 Covid-19 Order, In re: Restrictions on

    Courthouse Access due to Covid-19, Case No. 3:20-mc-23-TJC, remain in full force and effect and

    will be adhered to for this hearing. This includes social distancing and spaced seating within the

    courtroom. To that end, seating will be limited in Courtroom 5D. However, Courtroom 6A will
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    be provided as an overflow courtroom with both audio and video feed for members of the media

    and the public. Because this hearing is being conducted in person, remote access to the hearing

    will not be available.

           No electronics shall be permitted inside the courthouse or courtroom other than those

    allowed pursuant to M.D. Fla. Local Rule 7.02. Members of the press shall not be permitted to

    bring electronics into the courthouse or courtroom for this hearing. All inquiries by any

    member of the press shall be directed to Megan Mann at 904-549-1915. Members of the press

    should not contact my chambers directly.




    Dated: May 13, 2021




    Copies furnished to:

    United States Marshal
    United States Attorney
    United States Pretrial Services
    Counsel for Defendant




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